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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 9:19-cr-80093-ROSENBERG


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  SCOTT WOOLLEY,

          Defendant.
                                               /

             ORDER GRANTING RENEWED MOTION TO MODIFY SENTENCE

          This cause comes before the Court upon Defendant Scott Woolley’s (“Woolley”) Renewed

  Motion to Modify Sentence. DE 107. He presently has a self-surrender date of August 31, 2020,

  to begin serving a five-month term of imprisonment. See DE 98; DE 105. He states that he has

  been designated to serve his sentence at Camp FCI Miami, and the Government, in its Response,

  does not dispute that statement. See DE 107 at 5; see generally DE 109. Woolley asks that his

  prison sentence be converted to five months of home detention under 18 U.S.C. § 3582(c)(1)(A)(i)

  due to extraordinary and compelling reasons. 1 The Court has reviewed the Renewed Motion to

  Modify Sentence, the Government’s Response thereto, Woolley’s supplement of medical records

  [DE 110] and the record and is otherwise fully advised in the premises. For the reasons set forth

  below, the Renewed Motion to Modify Sentence is granted.



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   Because only the Bureau of Prisons has the authority to designate an inmate’s place of confinement, the Court does
  not construe Woolley’s Motion as seeking an order that his term of imprisonment be served at home. See generally
  18 U.S.C. §§ 3621(b), 3624(c). Rather, the Court construes the Motion as asking the Court to reduce his term of
  imprisonment to zero and to instead impose five months of home detention.
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         As background, on February 12, 2020, the Court imposed a sentence of five months’

  imprisonment and three years’ supervised release for each of two convictions of wire fraud, with

  the sentences to run concurrently. DE 98. The Court gave Woolley a self-surrender date of April

  27, 2020. Id. Before that self-surrender date, he moved to convert his term of imprisonment to

  home detention under 18 U.S.C. § 3582(c)(1)(A)(i) in light of the COVID-19 pandemic. DE 101.

  Because he had not exhausted administrative remedies before filing his motion, and because it was

  unclear whether and how he could exhaust administrative remedies given that he was not yet a

  prison inmate, the Court denied the motion without prejudice but extended the self-surrender date

  to August 31, 2020. DE 105.

         In his Renewed Motion to Modify Sentence, Woolley contends that he exhausted

  administrative remedies by sending a preemptive request for compassionate release to the warden

  of Camp FCI Miami in May 2020, for which he has received no response. DE 107 at 10-11. The

  Government acknowledges that he as met the exhaustion requirement in 18 U.S.C.

  § 3582(c)(1)(A). DE 109 at 1, 4-5. Thus, the Court turns to the merits of his request.

         Once a sentence of imprisonment is imposed, a court’s authority to modify the sentence is

  narrowly limited by statute. United States v. Phillips, 597 F.3d 1190, 1194-95 (11th Cir. 2010).

  A court may reduce a term of imprisonment if it finds that “extraordinary and compelling reasons

  warrant such a reduction” and “that such a reduction is consistent with applicable policy statements

  issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). In making the decision

  whether to reduce a term of imprisonment, the court must also consider the factors set forth in

  18 U.S.C. § 3553(a), to the extent that they are applicable. Id. When reducing a sentence, the

  court “may impose a term of probation or supervised release with or without conditions that does


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  not exceed the unserved portion of the original term of imprisonment.” Id.; see also U.S.S.G.

  § 5F1.2 (permitting home detention to be imposed as a condition of probation or supervised release

  as a substitute for imprisonment).

         Application note 1 to U.S.S.G. § 1B1.13 provides a list of circumstances in which

  “extraordinary and compelling reasons” warranting a sentence reduction may exist. See U.S.S.G.

  § 1B1.13 (policy statement), application note 1. One such circumstance is where the defendant is

  “suffering from a serious physical or medical condition . . . that substantially diminishes the ability

  of the defendant to provide self-care within the environment of a correctional facility and from

  which he or she is not expected to recover.”            Id. § 1B1.13, application note 1(A)(ii)(I).

  Extraordinary and compelling reasons may also exist if, “[a]s determined by the Director of the

  Bureau of Prisons, there exists in the defendant’s case an extraordinary and compelling reason

  other than, or in combination with, the reasons described” in the application note. Id. § 1B1.13,

  application note 1(D). Before reducing a sentence, a court must also determine that the “defendant

  is not a danger to the safety of any other person or to the community.” Id. § 1B1.13(2).

         In ruling on the instant Motion, the Court has carefully considered the parties’ submissions

  related to the Motion and the entire record. These submissions show that Woolley suffers from

  Type II diabetes mellitus and obesity and that his doctor has opined that he would be “at a very

  high risk in a confined environment.” DE 110-2 and -3. The Center for Disease Control has

  identified Type II diabetes mellitus and obesity as underlying medical conditions that put a person

  at an increased risk for severe illness from COVID-19. See https://www.cdc.gov/coronavirus/

  2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last visited Aug. 20,

  2020). As of the date of this Order, FCI Miami has 44 active inmate cases and 30 active staff cases


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  of COVID-19. See https://www.bop.gov/coronavirus/ (last visited August 20, 2020). Based on

  its review of the circumstances, the Court is satisfied that Woolley has presented extraordinary and

  compelling reasons that warrant a sentence reduction. See 18 U.S.C. § 3582(c)(1)(A)(i); U.S.S.G.

  § 1B1.13, application note 1(A)(ii)(I). The Court is also satisfied that he does not pose a danger

  to the safety of others and that a reduction is consistent with the § 3553(a) factors, including but

  not limited to the nature and circumstances of the offense, the history and characteristics of the

  defendant, and the need for a sentence that reflects the seriousness of the offense, promotes respect

  for the law, and provides just punishment. See 18 U.S.C. § 3553(a); U.S.S.G. § 1B1.13(2). The

  Court has reviewed the nature of Woolley’s offenses and the presentence investigation report that

  was before the Court at the time of sentencing. The Court also takes note of the personal, family,

  and financial circumstances that Woolley describes in his Motion and the ways in which the

  COVID-19 pandemic has impacted those circumstances. See DE 107 at 11-13.

         Accordingly, it is ORDERED AND ADJUDGED that Defendant Scott Woolley’s

  Renewed Motion to Modify Sentence [DE 107] is GRANTED. The Court reduces his five-month

  term of imprisonment to time served. As a condition of the previously imposed three-year term

  of supervised release, Woolley shall serve 150 days of home detention. All previously imposed

  conditions of supervised release remain the same.

         Woolley shall participate in the Home Detention Electronic Monitoring Program for a

  period of 150 days. During this time, Woolley shall remain at his place of residence except for

  employment and other activities approved in advance, and provide the U.S. Probation Officer with

  requested documentation. Woolley shall maintain a telephone at his place of residence without

  ‘call forwarding,’ ‘call waiting,’ a modem, ‘caller ID,’ or ‘call back/call block’ services for the


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  above period. Woolley shall wear an electronic monitoring device and follow the electronic

  monitoring procedures as instructed by the U.S. Probation Officer. Woolley shall pay for the

  electronic monitoring equipment at the prevailing rate or in accordance with his ability to pay.

          Woolley’s Motion to File his Medial Records under Seal [DE 110] is GRANTED.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of August,

  2020.

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                                                       ROBIN L. ROSENBERG
  Copies furnished to: Counsel of Record               UNITED STATES DISTRICT JUDGE




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